 Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 1 of 34 PageID #: 1




                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                            TYLER DIVISION

VIAHART, LLC                              §
                                          §
                Plaintiff,                §
                                          §
       v.                                 §         Cause No. 6:19-cv-00406
                                          §
ENTITIES, PARTNERSHIPS AND                §
INDIVIDUALS IDENTIFIED IN                 §
SCHEDULE “A,”                             §       JURY TRIAL DEMANDED
                                          §
                Defendants.               §



                     PLAINTIFF’S ORIGINAL COMPLAINT

  Plaintiff Viahart, LLC (“Plaintiff” or “Viahart”) hereby files this Original

Complaint against Entities, Partnerships and Individuals identified in Schedule A

attached hereto (collectively, “Defendants”) and allege as follows:

                                         PARTIES

       1.    Viahart is a Texas Limited Liability Company with its principal place

of business in Wills Point, Texas.

       2.    Arkview, LLC d/b/a Moo Toys and d/b/a Lexivon is on information and

belief, a Delaware Limited Liability Company with its principal place of business at

Moorpark, California 93021 and may be served with process via its registered

agent, Incorp Services, Inc. 919 North Market Street, Suite 950, Wilmington,

Delaware, 19801.




PLANTIFFS ORIGINAL COMPLAINT                                                         1
 Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 2 of 34 PageID #: 2




       3.    Best Choice Products, Inc. a/k/a BCP, f/k/a Sky Billiards, Inc. is on

information and belief, a California Corporation with its principal place of business

at Irvine, California and may be served with process via its registered agent

Suzanne M. Graves at 1317 W. Foothill Blvd., Suite 245, Upland, California 91786.

       4.    Agora, LLC d/b/a Agora Selects and/or d/b/a Agora Outlets is on

information and belief, a Texas Limited Liability Company with its principal place

of business in Carrollton, Texas and may be served with process via its registered

agent Matthew McCombs at 2114 Greenview Drive, Carrollton, Texas 75010.

       5.    Odyssey Sourcing, LLC d/b/a Build a Brain Toy Company is on

information and belief, a Kansas Limited Liability Company with its principal place

of business in Andover, Kansas and may be served with process via its registered

agent Scott M. Hill at 100 N. Broadway, Suite 950, Wichita, Kansas 67202.

       6.    Comfortscape, LLC is on information and belief, a Delaware Limited

Liability Company with its principal place of business in Wilmington, Delaware and

may be served with process by serving its President, Jesus Diaz Maso at 4023

Kennett Pike #54632, Wilmington, Delaware 19807.

       7.    Jesus Diaz Maso, is on information and belief, an individual who may

be served with process at his place of business at 4023 Kennett Pike #54632,

Wilmington, Delaware 19807.

       8.    Creative Kids Far East, Inc. is on information and belief, a New York

Corporation and may be served with process by serving its Chief Executive Officer

Samuel Lapa at 750 Chestnut Ridge, Suite 301, Chestnut Ridge, New York 10977.



PLANTIFFS ORIGINAL COMPLAINT                                                            2
 Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 3 of 34 PageID #: 3




         9.    Chickadee Business Solutions, LLC d/b/a Fox and Grapes, is on

information and belief, a Maine Limited Liability Company with its primary place

of business at Biddeford, Maine and may be served with process via its registered

agent Joel David Bailey at 107 Granite Street, Biddeford, Maine 04005-3651.

         10.   Jason Rothbart and Ronald Almagno d/b/a Jarrby is on information

and belief, a New Jersey General Partnership with their primary place of business

in West Orange, New Jersey and may be served with process as follows: (a) Jason

Rothbart at 22 Devon Drive, West Orange, New Jersey 07052; and (b) Ronald

Almagno at 365 Lum Avenue, Union, New Jersey 07083.

         11.   Michael P. Dahlberg d/b/a Learning Toys 4 U is on information and

belief, a Minnesota sole proprietor with his primary place of business at Moorhead,

Minnesota and may be served at 3744 41st Avenue S., Moorehead, Minnesota

56560.

         12.   iPlay iLearn, Inc. is on information and belief, a California corporation

with its primary place of business at City of Industry, California and may be served

with process by serving its Registered Agent, Jingyu Wang at 18725 E. Gale Ave.,

Suite 250, City of Industry, California 91748.

         13.   Playlearn USA, Inc. is on information and belief, a New York

Corporation with its primary place of business at Garnerville, New York and may

be served via its Chief Executive Officer, Boruch Dunner at 8 Vandenberg Circle,

Garnerville, New York 10923.




PLANTIFFS ORIGINAL COMPLAINT                                                           3
 Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 4 of 34 PageID #: 4




       14.   Playshire, LLC is on information and belief, a Texas Limited Liability

Company with its primary place of business at Houston, Texas and may be served

via its registered agent LegalInc Corporate Services, Inc. at 10601 Clarence Drive,

Suite 250, Frisco, Texas 75033.

                          JURISDICTION AND VENUE

       15.   This Court has original subject matter jurisdiction over the claims in

this action pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1114

(Trademark and Counterfeiting), 15 U.S.C. § 1125(a) (Unfair Competition), 17

U.S.C. § 501, et. seq. (Copyright Infringement), 28 U.S.C. § 1331 (Federal Subject

Matter Jurisdiction), §1338(a)-(b) (Trademark, Trade Dress and Copyright Actions),

28 U.S.C. § 1338(b) (Unfair Competition), and 15 U.S.C. § 1051, et. seq. This Court

has Supplemental Jurisdiction over the claims that arise under the laws of the

State of Texas pursuant to 28 U.S.C. § 1367(a), and/or because the Common Law

claims of Trademark Infringement, Trade Dress Dilution, Trade Dress Infringement

and Unfair Competition are so related to the Federal claims that they form part of

the same controversy and are derived from a common nucleus of operative facts.

      16.    This Court may properly exercise personal jurisdiction over

Defendants, as each of the Defendants direct business activities toward and conduct

business with consumers throughout the United States, including Texas residents

through their respective websites and/or their respective online marketplace

accounts, including without limitation, their Amazon accounts identified in

Schedule A attached hereto (collectively, “Defendants’ Internet Stores”). Further,



PLANTIFFS ORIGINAL COMPLAINT                                                          4
 Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 5 of 34 PageID #: 5




Defendants operate or have operated interactive Internet Stores through which,

Texas residents can purchase products bearing counterfeit versions of Viahart’s

trademarks.

       17.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391, as

Defendants are on information and belief, engaged in or have been engaged in

infringing acts and are causing harm or have caused harm within this district by

advertising, selling, offering to sell and/or selling infringing products to consumers

in Texas. Plaintiff’s headquarters is located in this District, which has resulted in

widespread and favorable acceptance of the Marks in Texas.

                                  INTRODUCTION

       18.    Viahart files this Action to stem the tide of online counterfeiting of

Viahart’s valuable trademarks, “VIAHART” and “BRAIN FLAKES,” and protect its

valuable trade dress and copyrights. Viahart seeks to recover damages for the

substantial harm caused by Defendants’ wrongful actions. Viahart also seeks to

protect the unknowing purchasing public from purchasing Counterfeit Viahart

products over the internet. Defendants operate primarily through the Amazon,

ebay, Walmart and Kmart online marketplaces and on information and belief, often

use business names that are incorrect or misleading in an effort to cover-up their

wrongful actions. Some of the Defendants have their own websites where they have

offered or continue to offer for sale, have sold or continue to sell counterfeit Viahart

BRAIN FLAKES branded products. At least one Defendant offers for sale and sells

identical VIAHART BRAIN FLAKES branded products on its website.



PLANTIFFS ORIGINAL COMPLAINT                                                               5
 Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 6 of 34 PageID #: 6




       19.   Several of the Defendants have not only used Viahart’s trademark,

“BRAIN FLAKES” associated with substantially identical products but they also

went so far as to copy Viahart’s text and photographs from Viahart’s Amazon

product pages in an effort to further confuse consumers and trade off of Viahart’s

good will. Moreover, the Defendants also use confusingly similar packaging design

in violation of Viahart’s Trade Dress rights. Viahart has been and continues to be

irreparably damaged as a result of the consumer confusion caused by Defendants’

ongoing or past actions.

                           FACTUAL ALLEGATIONS

      Viahart’s Toy Products, Copyrights Trade Dress and Trademarks

       20.   Since 2010, Viahart has been engaged in the business of toy

manufacturing and retail sales. Viahart has made and continues to make

substantial investments of time, effort and expense in designing, developing,

testing, publishing, marketing and distributing toy products, including its most

famous branded product, “BRAIN FLAKES.” In fact, the Wall Street Journal




PLANTIFFS ORIGINAL COMPLAINT                                                         6
 Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 7 of 34 PageID #: 7




recently featured Viahart’s BRAIN FLAKES product in the following article:




       21.   Since Viahart began manufacturing, marketing and selling Viahart’s

BRAIN FLAKES branded product in 2014, they have been featured or mentioned by

numerous media outlets, including Bloomberg, People magazine, Yahoo, Buzzfeed,

Wall Street Journal and Chinese News sites.

       22.   Viahart has sold over 250,000 units or jars of BRAIN FLAKES

branded products and has over 1500 positive Amazon reviews with 4.8 stars.

       23.   BRAIN FLAKES is a manipulative construction toy that Viahart

designed to help young children develop spatial, mathematic and creative thinking

skills that may last a lifetime and may contribute to a larger pool of engineering

talent. BRAIN FLAKES branded toys also help children develop their fine motor

and spatial skills, while having fun. The BRAIN FLAKES product packaging is

distinctive trade dress, including the yellow cap and round tub. On the front of the

package, the BRAIN FLAKES brand name is prominently featured in green and


PLANTIFFS ORIGINAL COMPLAINT                                                           7
 Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 8 of 34 PageID #: 8




purple lettering bearing a red rectangle set against a white background with two

clusters of three (3) different sized construction pieces depicted thereon along with

an image of a tree constructed with the BRAIN FLAKES branded colorful

construction pieces as depicted below and as attached in relevant exhibits. The back

of the package bears a ribbon shaped banner with three horizontally displayed

circled examples of use of the construction pieces.




       24.    In connection with Viahart’s BRAIN FLAKES toy products and

advertising or marketing thereof, Viahart owns copyrights for its original text and

photographs for which it has obtained timely registrations with the United States

Copyright Office. (See Exhibit 1 for true and correct copies of relevant copyright

registrations and registered materials).

       25.    Viahart has never authorized Defendants to copy, reproduce or use

Viahart’s original copyrighted text or photographs for which it obtained

registration. (See Id.)


PLANTIFFS ORIGINAL COMPLAINT                                                            8
 Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 9 of 34 PageID #: 9




       26.   Viahart advertises, markets and distributes its BRAIN FLAKES toy

products under federally registered trademarks with the United States Patent and

Trademark Office (“USPTO”) for both “VIAHART” and “BRAIN FLAKES.” Viahart

developed these brands to distinguish its products from those of its competitors.

Viahart has obtained registration certificates for “VIAHART” and “BRAIN

FLAKES.” (See Exhibit 2 for true and correct copies of the trademark registration

certificates at issue). Registration of these marks is prima facie evidence of each

Mark’s respective validity and conclusive evidence that Viahart has the exclusive

right to use these two Marks in connection with the goods and/or services identified

in each registration certificate as well as other commercial goods. The registration

of the Marks further provides constructive notice to Defendants that Viahart owns

exclusive rights in these Marks. Viahart has used the Marks continuously and has

not abandoned either Mark.

       27.   Defendants have engaged in counterfeiting, trademark infringement,

trademark dilution, unfair competition, trade dress infringement, trade dress

dilution and copyright infringement that has caused actual confusion in the

marketplace and has damaged Viahart and continues to damage Viahart.

       28.   Viahart has made every effort to stop the illegal use of its trademarks

by issuing cease and desist letters and filing lawsuits against numerous Defendants

in the past that were on information and belief, located in and operating out of

China. The current Defendants are on information and belief, all located in and

operating out of the United States.



PLANTIFFS ORIGINAL COMPLAINT                                                           9
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 10 of 34 PageID #: 10




      The Problem of Counterfeit and Knock-Off Toys

       29.   There is an ever-present growing problem of counterfeit and knock-off

toys that has been created and exacerbated by online merchandisers.

Unfortunately, it is not just the brand owners who are damaged by this problem in

the marketplace, but unwitting consumers and their innocent children often

experience actual physical harm as a result of counterfeiters selling untested, lower

quality or unsafe toys to these consumers. See the Toy Association’s article

concerning this issue in detail at:

             https://www.toyassociation.org/PressRoom2/News/2019-
             news/new-toy-association-report-exposes-factors-
             contributing-to-the-rise-in-counterfeit-toys-online.aspx .

       30.   The estimated value of global trade in counterfeit toy products as of

2013 was approximately 9.72 billion dollars, which made up 11% of the world’s

imports. China contributes heavily to the trafficking of these counterfeit goods. See

             https://euipo.europa.eu/tunnel-
             web/secure/webdav/guest/document_library/observatory/d
             ocuments/reports/Mapping_the_Real_Routes_of_Trade_in
             _Fake_Goods_en.pdf .

      Defendants’ Infringing Activities

       31.   Defendant Arkview, LLC d/b/a Moo Toys (“Moo Toys”) willfully and

knowingly sells, markets and distributes the infringing counterfeit products using

the name, “Genius Flakes” on products featuring confusingly similar packaging on

its website at https://mootoys.com, and on the Amazon and ebay online

marketplaces. (See Exhibit 3). Moo Toys also boldly and willfully uses Plaintiff’s

identical or substantially similar copyrighted text in marketing and advertising the

PLANTIFFS ORIGINAL COMPLAINT                                                         10
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 11 of 34 PageID #: 11




infringing counterfeit products. Moo Toys’ use of this counterfeit name, Plaintiff’s

copyrighted advertising and marketing text and similar trade dress protected

packaging has caused actual confusion and is likely to cause confusion as to the

source or origin of the product among the relevant purchasing public. (See Exhibit

4) Moo Toys sells, markets and distributes the infringing products without

obtaining a trademark, trade dress, copyright license or other permission from

Plaintiff. Moo Toys has refused to cease and desist from their infringing activity,

which has damaged Plaintiff and continues to damage Plaintiff by continuing its

willful infringing activity.

       32.   Chickadee Business Solutions, LLC d/b/a Fox and Grapes (“Fox and

Grapes”) willfully and knowingly sells, markets and distributes the infringing

counterfeit products using the Viahart trademark and the BRAIN FLAKES

trademark on the Fox and Grapes website at:


         https://foxandgrapesco.com/?s=brain+flakes&post_type=product&title=1&e
         xcerpt=1&content=1&categories=1&attributes=1&tags=1&sku=0&orderby
         =date-DESC&ixwps=1

         Fox and Grapes’ counterfeit BRAIN FLAKES product’s packaging is

identical to Plaintiff’s packaging and boldly uses Viahart’s copyrighted text and

photos to market and sell the infringing products. (See Exhibit 5). These infringing

activities are likely to cause confusion as to the source or origin of the product

among the relevant purchasing public. Fox and Grapes sells, markets and

distributes the infringing products without obtaining a license or other permission




PLANTIFFS ORIGINAL COMPLAINT                                                           11
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 12 of 34 PageID #: 12




from Plaintiff. Fox and Grapes has refused to cease and desist from their willful

infringing activity, which has damaged Plaintiff and continues to damage Plaintiff.

       33.   Defendant Creative Kids Far East, Inc. (“Creative Kids”) willfully and

knowingly sells, markets and distributes the infringing counterfeit products using

the BRAIN FLAKES trademark on Amazon, EBay and the Creative Kids’ website

at https://creativekids.com/collections/all. (See Exhibit 6). Creative Kids has caused

actual confusion in the marketplace and has tarnished Plaintiff’s famous BRAIN

FLAKES brand. (See Exhibit 7). Creative Kids sells, markets and distributes the

infringing products without obtaining a license or other permission from Plaintiff.

Creative Kids has refused to cease and desist from their willful infringing activity,

which has damaged Plaintiff and continues to damage Plaintiff.

       34.   Defendant Best Choice Products, Inc. a/k/a BCP, f/k/a Sky Billiards,

Inc. (“BCP”) willfully and knowingly sold, marketed and distributed the infringing

counterfeit products using the BRAIN FLAKES trademark on Amazon, Walmart

and the BCP website at https://bestchoiceproducts.com/ (See Exhibit 8). These

infringing activities have caused actual confusion and were likely to cause confusion

as to the source or origin of the product among the relevant purchasing public. BCP

sold, marketed and distributed the infringing products without obtaining a license

or other permission from Plaintiff. On information and belief, BCP stopped

infringing on Plaintiff’s trademarks. However, BCP’s willful infringing activity

damaged Plaintiff and continues to damage Plaintiff.




PLANTIFFS ORIGINAL COMPLAINT                                                          12
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 13 of 34 PageID #: 13




        35.   Defendant Agora, LLC d/b/a Agora Selects and/or d/b/a Agora Outlets

(“Agora”) willfully and knowingly sold, marketed and distributed the infringing

counterfeit products using the BRAIN FLAKES trademark and copyrighted text on

Agora’s website at https://agoraselects.com. (See Exhibit 9). These infringing

activities are likely to cause confusion as to the source or origin of the product

among the relevant purchasing public. Agora sold, marketed and distributed the

infringing products using the BRAIN FLAKES trademark and copyrighted text and

photos without obtaining a license or other permission from Plaintiff. On

information and belief, Agora stopped its infringing behavior after receiving a cease

and desist letter from Plaintiff. However, Agora’s infringing activity damaged

Plaintiff.

        36.   Defendant Odyssey Sourcing, LLC d/b/a Build a Brain Toy Company

(“Build a Brain”) willfully and knowingly sells, markets and distributes the

infringing counterfeit products using Plaintiff’s distinctive packaging trade dress

and copyrighted text and photos on Amazon. (See Exhibit 10). These infringing

activities are likely to cause confusion as to the source or origin of the product

among the relevant purchasing public. Build a Brain sells, markets and distributes

the infringing products using the confusingly similar mark, “Build a Brain

Imagination Flakes” and Plaintiff’s copyrighted text and photos without obtaining a

license or other permission from Plaintiff. Build a Brain has refused to cease and

desist from their willful infringing activity of Plaintiff’s copyrights and continues to




PLANTIFFS ORIGINAL COMPLAINT                                                          13
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 14 of 34 PageID #: 14




damage Plaintiff. Build a Brain has refused to cease and desist from their willful

infringing activity, which has damaged Plaintiff and continues to damage Plaintiff.

       37.   Defendants Comfortscape, LLC and Jesus Diaz Maso d/b/a

Comfortscape (collectively, “Comfortscape”) willfully and knowingly sold, marketed

and distributed the infringing counterfeit products using the BRAIN FLAKES

trademark and copyrighted text and photos on Amazon. (See Exhibit 11). These

infringing activities are likely to cause confusion as to the source or origin of the

product among the relevant purchasing public. Comfortscape sold, marketed and

distributed the infringing products using the BRAIN FLAKES trademark and

copyrighted text and photos without obtaining a license or other permission from

Plaintiff. Comfortscape has refused to cease and desist from their willful infringing

activity of Plaintiff’s copyright and continues to damage Plaintiff. On information

and belief, Comfortscape changed the name of their products to “Snowflakes,” and is

continuing to infringe Plaintiff’s trademark BRAIN FLAKES, as this name

associated with a nearly identical product is likely to cause confusion among the

relevant purchasing public. Comfortscape’s counterfeiting and trademark

infringement activities have substantially damaged Plaintiff and continue to

damage Plaintiff.

       38.   Defendants Jason Rothbart and Ronald Almagno d/b/a Jarrby

(collectively, “Jarrby”) willfully and knowingly sold, marketed and distributed the

infringing counterfeit products using the BRAIN FLAKES trademark and

copyrighted text and photos on Amazon. (See Exhibit 12). These infringing activities



PLANTIFFS ORIGINAL COMPLAINT                                                            14
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 15 of 34 PageID #: 15




are likely to cause confusion as to the source or origin of the product among the

relevant purchasing public. Jarrby sold, marketed and distributed the infringing

products using the BRAIN FLAKES trademark and copyrighted text and photos

without obtaining a license or other permission from Plaintiff. On information and

belief, Jarrby now uses the infringing name, “Stem Flakes” instead of “BRAIN

FLAKES,” and continues to infringe Plaintiff’s trademark BRAIN FLAKES.

Jarrby’s counterfeiting and trademark infringement activities substantially

damaged Plaintiff and continue to damage Plaintiff.

       39.   Defendant Michael P. Dahlberg d/b/a Learning Toys 4 U (“Dahlberg”)

willfully and knowingly sold, marketed and distributed the infringing products

using the BRAIN FLAKES trademark on Amazon. (See Exhibit 13). These

infringing activities are likely to cause confusion as to the source or origin of the

product among the relevant purchasing public. Dahlberg sold, marketed and

distributed the infringing products using the BRAIN FLAKES trademark without

obtaining a license or other permission from Plaintiff. On information and belief,

Dahlberg has stopped infringing Plaintiff’s trademark BRAIN FLAKES. However,

Dahlberg’s counterfeiting and trademark infringement activities substantially

damaged Plaintiff.

       40.   Defendant PlayLearn USA, Inc. (“PlayLearn”) willfully and knowingly

sold, marketed and distributed the infringing products using the distinctive

packaging trade dress and copyrighted text on Amazon. (See Exhibit 14). Further,

PlayLearn infringed upon the famous BRAIN FLAKES trademark by using BRAIN



PLANTIFFS ORIGINAL COMPLAINT                                                            15
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 16 of 34 PageID #: 16




FLAKES as a search term on Amazon. (See Id. and

https://www.amazon.com/Snowflake-Interlocking-Connector-

PiecesColors/dp/B077FDG3F8/ref=sr_1_18?keywords=brain+flakes&qid=156460839

2&s=gateway&sr=8-18). These infringing activities are likely to cause confusion as

to the source or origin of the product among the relevant purchasing public.

PlayLearn sold, marketed and distributed the infringing products using the BRAIN

FLAKES trademark, trade dress and copyrighted text without obtaining a license or

other permission from Plaintiff. PlayLearn continues all of these infringing

activities but has changed the name on the infringing product to “Snowflakes.”

PlayLearn’s counterfeiting and trademark infringement activities have

substantially damaged Plaintiff and continue to substantially damage Plaintiff.

       41.   Playshire, LLC (“Playshire”) willfully and knowingly sold, marketed

and distributed the infringing products using Plaintiff’s famous trademark, BRAIN

FLAKES, distinctive packaging trade dress and copyrighted photos on their website

at https://www.playshire.com/. (See Exhibit 15). These infringing activities are

likely to cause confusion as to the source or origin of the product among the relevant

purchasing public. Playshire sold, marketed and distributed the infringing products

using the BRAIN FLAKES trademark, trade dress and copyrighted photos without

obtaining a license or other permission from Plaintiff. On information and belief,

Playshire now uses “Fun Flakes” but uses the key terms, “Brain+Flakes” for its

Amazon page: https://www.amazon.com/PlayShire-Fun-Flakes-Educational-

Construction/dp/B072TRSP93/ref=sr_1_31?keywords=brain+flakes&qid=156460839



PLANTIFFS ORIGINAL COMPLAINT                                                         16
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 17 of 34 PageID #: 17




2&s=gateway&sr=8-31 . Accordingly, Playshire continues to infringe Plaintiff’s

trademark “BRAIN FLAKES” and trade off the associated good will. Playshire’s

counterfeiting, trademark, trade dress and copyright infringement activities

substantially damaged Plaintiff and continue to substantially damage Plaintiff.

                                    CLAIMS FOR RELIEF

             Count I. Trademark Infringement and Counterfeiting Under 15
                         U.S.C. § 1114 (Against All Defendants)

       42.    Plaintiff repeats the allegations above as if fully set forth herein.

       43.    Plaintiff’s trademarks are registered on the principal register of the

USPTO, are inherently distinctive or have acquired distinctiveness as a result of

continuous promotion of Plaintiff’s BRAIN FLAKES product.

       44.    Each of the above-named Defendants have used counterfeit imitations

of Plaintiff’s registered BRAIN FLAKES Trademark or a name that is confusingly

similar thereto in connection with the sale, offering for sale, distribution and/or

advertising and marketing of infringing goods. The BRAIN FLAKES trademark is

highly distinctive, and consumers expect high quality goods from Plaintiff’s BRAIN

FLAKES products sold or marketed using the BRAIN FLAKES Trademark.

       45.    All Defendants have sold, offered to sell, marketed, advertised and

distributed counterfeit reproductions of products bearing the BRAIN FLAKES

trademark or a confusingly similar name, such that it is likely to cause confusion,

mistake or deceive the relevant consuming public as to the origin and quality of the

infringing counterfeit goods.




PLANTIFFS ORIGINAL COMPLAINT                                                           17
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 18 of 34 PageID #: 18




       46.   One Defendant, Fox and Grapes, has sold, offered to sell, marketed,

advertised and distributed counterfeit reproductions of the products bearing both

the identical BRAIN FLAKES trademark and the VIAHART trademark. Fox and

Grapes continues to offer to sell, market, advertise and distribute counterfeit

reproductions of the products bearing the identical BRAIN FLAKES trademark,

VIAHART trademark and trade dress among other things.

       47.   Plaintiff Viahart is the exclusive owner of the BRAIN FLAKES

trademark and VIAHART trademark. The BRAIN FLAKES and VIAHART

trademark registrations are valid and in full force and effect. On information and

belief, Defendants have knowledge of Plaintiff’s rights in the BRAIN FLAKES

trademark and VIAHART trademark and are willfully infringing and intentionally

using counterfeit goods bearing the BRAIN FLAKES trademark. Defendants’

willful, intentional and unauthorized use of the BRAIN FLAKES trademark and in

one instance, the VIAHART trademark is likely to cause and is causing confusion,

mistake and deception as to the origin and quality of the infringing counterfeit

goods among the relevant purchasing public.

       48.   Defendants Dahlberg, BCP and Agora are the only Defendants that on

information and belief, stopped infringing Plaintiff’s trademark, BRAIN FLAKES

after receiving cease and desist correspondence from Plaintiff. However, Defendants

Dahlberg, BCP and Agora’s past willful infringing and counterfeit activities

substantially damaged Plaintiff.




PLANTIFFS ORIGINAL COMPLAINT                                                         18
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 19 of 34 PageID #: 19




        49.   Defendants’ activities constitute willful trademark infringement and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

        50.   Except for Dahlberg, BCP and Agora, Defendants’ actions must be

enjoined, as Plaintiff has no adequate remedy at law. If Defendants are not

enjoined, Plaintiff will continue to suffer irreparable injury to its reputation and the

goodwill associated with Plaintiff’s BRAIN FLAKES trademarked goods.

        51.   Defendants’ unlawful actions have individually and jointly (directly

and proximately) caused and continues to cause, substantial damage to Plaintiff

and are unjustly enriching Defendants with profits at Plaintiff’s expense.

        52.   Under Section 35 of the Lanham Act, 15 U.S.C. § 1117(a), Plaintiff is

entitled to recover from Defendants the following: (i) Defendants’ profits; (ii) the

damages sustained by Plaintiff, and (iii) costs of this action. Further, this is an

exceptional case and as such, Plaintiff seeks to recover its reasonable attorney’s

fees.

        53.   Also, in accordance with Section 35 of the Lanham Act, 15 U.S.C. §

1117(b), because of Defendants’ wrongful intentional and knowing counterfeiting

activities, Plaintiff is entitled to recover and hereby seeks treble damages and its

reasonable attorney’s fees. Alternatively, Plaintiff is entitled to recover statutory

damages as set forth under 15 U.S.C § 1117(c).

        54.   Under 15 U.S.C. § 1116, Plaintiff is entitled to injunctive relief

compelling the impounding of all infringing materials. Plaintiff has suffered and

will continue to suffer irreparable injury and damages due to Defendants’ above-



PLANTIFFS ORIGINAL COMPLAINT                                                            19
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 20 of 34 PageID #: 20




described wrongful activities if Defendants are not permanently enjoined. Moreover,

Defendants will continue to wrongfully profit from their illegal activities.

                Count II. Unfair Competition Under 15 U.S.C. § 1125(a)
                               (Against All Defendants)

       55. Plaintiff repeats the allegations above as if fully set forth herein.

       56.   Plaintiff’s trademarks are registered on the principal register of the

USPTO, are inherently distinctive or have acquired distinctiveness as a result of

continuous promotion of Plaintiff’s BRAIN FLAKES product.

       57.   Defendants’ advertisements, promotions, offers to sell, sales and/or

distribution of the infringing counterfeit products, in direct competition with

Plaintiff, violate § 43(a) of the Lanham Act, 15 U.S.C. § 1125(a) and constitute

unfair competition and false designation of origin, at least because Defendants have

obtained an unfair advantage as compared to Plaintiff through Defendants’ use of

Plaintiff’s trade dress and trademarks, as such use is likely to cause consumer

confusion and has actually caused confusion as to the origin and/or

sponsorship/affiliation of Defendants’ infringing counterfeit products by creating a

false and misleading impression that their infringing products are manufactured

by, authorized by, or otherwise associated with Viahart and its branded product,

BRAIN FLAKES.

       58.   Defendants Dahlberg, BCP and Agora are the only Defendants that on

information and belief, stopped infringing Plaintiff’s trademark, BRAIN FLAKES

after receiving cease and desist correspondence from Plaintiff. However, Defendants




PLANTIFFS ORIGINAL COMPLAINT                                                          20
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 21 of 34 PageID #: 21




Dahlberg, BCP and Agora’s past willful infringing and counterfeit activities

substantially damaged Plaintiff.

        59.   In accordance with Section 34 of the Lanham Act, 15 U.S.C. § 1116,

Plaintiff is entitled to injunctive relief and an order compelling the impounding of

all infringing materials. Plaintiff has no adequate remedy at law for Defendants’

wrongful conduct and Defendant’s conduct has caused Plaintiff to suffer damage to

its reputation and goodwill. Unless enjoined by the Court, Plaintiff will suffer future

irreparable harm as a direct result of Defendants’ unlawful conduct.

        60.   Under Section 35 of the Lanham Act, 15 U.S.C. § 1117(a), Plaintiff is

entitled to recover from Defendants the following: (i) Defendants’ profits; (ii) the

damages sustained by Plaintiff, and (iii) costs of this action. Further, this is an

exceptional case and as such, Plaintiff seeks to recover its reasonable attorney’s

fees.

                Count III: Trademark Dilution Under 15 U.S.C. § 1125(c)
                               (Against All Defendants)

        61.   Plaintiff repeats the allegations above as if fully set forth herein.

        62.   Plaintiff’s trademarks are registered on the principal register of the

USPTO, are inherently distinctive or have acquired distinctiveness as a result of

continuous promotion of Plaintiff’s BRAIN FLAKES product and have become

recognized as famous.

        63.   Since Viahart began manufacturing, marketing and selling Viahart’s

BRAIN FLAKES in 2014, they have been featured or mentioned by numerous




PLANTIFFS ORIGINAL COMPLAINT                                                           21
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 22 of 34 PageID #: 22




media outlets, including Bloomberg, People magazine, Yahoo, Buzzfeed, Wall Street

Journal and Chinese News sites.

       64.   Viahart has globally sold over 250,000 units or jars of BRAIN FLAKES

products and has over 1500 positive Amazon reviews with 4.8 stars.

       65.   Defendants’ use of the infringing Marks began after the BRAIN

FLAKES trademark had become famous and has caused dilution of the distinctive

quality of the distinctive quality of the trademarks VIAHART and BRAIN FLAKES.

This conduct has caused Plaintiff injury pursuant to 15 U.S.C. § 1125(c).

       66.   Such dilution has occurred as a result of Defendants’ advertisements,

promotions, offers to sell, sales and/or distribution of the infringing counterfeit

products

       67.   Defendants Dahlberg, BCP and Agora are the only Defendants that on

information and belief, stopped infringing Plaintiff’s trademark, BRAIN FLAKES

after receiving cease and desist correspondence from Plaintiff. However, Defendants

Dahlberg, BCP and Agora’s past willful infringing and counterfeit activities

substantially damaged Plaintiff.

       68.   Defendants actions have been and continue to be willful and

intentional in that Defendants intend or intended to trade on Plaintiff’s reputation

and/or cause dilution of the famous trademarks. Accordingly, Plaintiff is entitled to

recover damages and profits pursuant to 15 U.S.C. § 1117.

       69.   In accordance with Section 34 of the Lanham Act, 15 U.S.C. §§ 1116

and 1125(c)(1), Plaintiff is entitled to injunctive relief and an order compelling the



PLANTIFFS ORIGINAL COMPLAINT                                                             22
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 23 of 34 PageID #: 23




impounding of all infringing materials. Plaintiff has no adequate remedy at law for

Defendants’ wrongful conduct and Defendant’s conduct has caused Plaintiff to

suffer damage to its reputation and goodwill. Unless enjoined by the Court, Plaintiff

will suffer future irreparable harm as a direct result of Defendants’ unlawful

conduct.

       70.     Plaintiff is entitled to recover all available relief provided for in 15

U.S.C. §§ 1117, 1118 and 1125, including permanent injunctive relief, Defendants’

profits, treble damages, costs and reasonable attorney’s fees.

             Count IV: Trade Dress Infringement Under 15 U.S.C. § 1125(a)

       71.     Plaintiff repeats the allegations above as if fully set forth herein.

       72.     Defendants’ advertisements, promotions, offers to sell, sales and/or

distribution of the infringing counterfeit products, violate Section 43(a) of the

Lanham Act, 15 U.S.C. § 1125(a) by infringing Plaintiff’s trade dress. Defendants’

unauthorized use of Plaintiff’s distinctive trade dress and/or colorable imitations

thereof is likely to cause confusion, mistake or deceive the relevant consuming

public as to the affiliation, connection and/or association of Defendants and Plaintiff

and as to the origin, sponsorship and/or approval of Defendants’ infringing products.

       73.     Plaintiff’s trade dress is entitled to protection under the Lanham Act.

Plaintiff’s trade dress includes unique, distinctive and non-functional packaging

designs. Plaintiff’s trade dress has acquired distinctiveness through extensive and

continuous promotion and use of Plaintiff’s trade dress in the United States and

internationally. As a result of this extensive and continuous use, Plaintiff’s trade



PLANTIFFS ORIGINAL COMPLAINT                                                              23
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 24 of 34 PageID #: 24




dress has become a famous indicator of the origin and quality of Plaintiff’s

manipulative construction toy packaged in a plastic tub bearing distinctive green

and purple lettering. Plaintiff’s trade dress became distinctive as a result of

acquiring secondary meaning in the marketplace. The BRAIN FLAKES trade dress

acquired this secondary meaning or distinctiveness before Defendants began their

infringing activities.

        74.   Except for Dahlberg, BCP and Agora, Defendants’ actions must be

enjoined, as Plaintiff has no adequate remedy at law. If Defendants are not

enjoined, Plaintiff will continue to suffer irreparable injury to its reputation and the

goodwill associated with Plaintiff’s BRAIN FLAKES trade dress with VIAHART’s

BRAIN FLAKES manipulative construction toy products.

        75.   On information and belief, Defendants’ unauthorized use of Plaintiff’s

trade dress and colorable imitations thereof have been intentional and willful.

Defendants’ bad faith is evidenced at least by the similarity of its infringing

products to Plaintiff’s trade dress and by Defendants’ continuing disregard for

Plaintiff’s rights.

        76.   Plaintiff is entitled to recover all available relief provided for in 15

U.S.C. §§ 1125(a), 1116 and 1117 including permanent injunctive relief, Defendants’

profits, actual damages, enhanced profits and damages, costs and reasonable

attorney’s fees.

               Count V: Trade Dress Dilution Under 15 U.S.C. § 1125(c)

        77.   Plaintiff repeats the allegations above as if fully set forth herein.



PLANTIFFS ORIGINAL COMPLAINT                                                             24
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 25 of 34 PageID #: 25




       78.   Defendants’ advertisements, promotions, offers to sell, sales and/or

distribution of the infringing counterfeit products, in direct competition with

Plaintiff violate Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c).

       79.   Plaintiff’s trade dress is entitled to protection under the Lanham Act.

Plaintiff’s trade dress includes unique, distinctive and non-functional packaging

designs. Plaintiff’s trade dress has acquired distinctiveness through extensive and

continuous promotion and use of Plaintiff’s trade dress in the United States and

internationally. As a result of this extensive and continuous use, Plaintiff’s trade

dress has become a famous indicator of the origin and quality of Plaintiff’s

manipulative construction toy packaged in a plastic tub bearing distinctive green

and purple lettering. Plaintiff’s trade dress became distinctive as a result of

acquiring secondary meaning in the marketplace. The BRAIN FLAKES products’

trade dress acquired this secondary meaning or distinctiveness before Defendants

began their infringing activities.

       80.   Defendants’ unauthorized use of Plaintiff’s trade dress has caused

confusion and is likely to cause dilution of Plaintiff’s famous trade dress, because

the public exclusively identifies Plaintiff’s famous trade dress with VIAHART

BRAIN FLAKES and the manipulative construction toy by associating VIAHART’s

BRAIN FLAKES products with products of inferior quality thereby impairing the

distinctiveness of Plaintiff’s famous trade dress.

       81.   Defendants Dahlberg, BCP and Agora are the only Defendants that on

information and belief, stopped infringing Plaintiff’s trademark, BRAIN FLAKES



PLANTIFFS ORIGINAL COMPLAINT                                                           25
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 26 of 34 PageID #: 26




after receiving cease and desist correspondence from Plaintiff. However, Defendants

Dahlberg, BCP and Agora’s past willful infringing and counterfeit activities

substantially damaged Plaintiff.

        82.   Defendants’ impermissible use of Plaintiff’s trade dress has caused and

unless enjoined, will continue to cause, substantial and irreparable injury to

Plaintiff for which Plaintiff has no adequate remedy at law, including without

limitation, substantial and irreparable injury to the goodwill and reputation for

quality associated with Plaintiff’s trade dress, VIAHART’s BRAIN FLAKES

manipulative construction toy products and the VIAHART and BRAIN FLAKES

brands in general.

        83.   On information and belief, Defendants’ unauthorized use of Plaintiff’s

trade dress and colorable imitations thereof have been intentional and willful.

Defendants’ bad faith is evidenced at least by the similarity of its infringing

products to Plaintiff’s trade dress and by Defendants’ continuing disregard for

Plaintiff’s rights.

        84.   Plaintiff is entitled to recover all available relief provided for in 15

U.S.C. §§ 1125(c), 1116 and 1117 including permanent injunctive relief, Defendants’

profits, actual damages, enhanced profits and damages, costs and reasonable

attorney’s fees.

                Count VI: Trade Dress Infringement under Common Law

        85.   Plaintiff repeats the allegations above as if fully set forth herein.




PLANTIFFS ORIGINAL COMPLAINT                                                             26
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 27 of 34 PageID #: 27




        86.   Defendants’ advertisements, promotions, offers to sell, sales and/or

distribution of the infringing counterfeit products, in direct competition with

Plaintiff constitutes common law trade dress infringement, because Defendants’

unauthorized use of Plaintiff’s distinctive trade dress and/or colorable imitations

thereof is likely to cause confusion, mistake or deceive the relevant consuming

public as to the affiliation, connection and/or association of Defendants and Plaintiff

and as to the origin, sponsorship and/or approval of Defendants’ infringing products.

        87.   Plaintiff’s trade dress is entitled to protection under the common law.

Plaintiff’s trade dress includes, unique, distinctive and non-functional packaging

design. Plaintiff has continuously promoted and used its trade dress

internationally, in the United States, and in Texas. As a result of this extensive and

continuous use, Plaintiff’s trade dress has become a famous indicator of the origin

and quality of Plaintiff’s manipulative construction toy packaged in a plastic tub

bearing distinctive green and purple lettering. Plaintiff’s trade dress became

distinctive as a result of acquiring secondary meaning in the marketplace. The

BRAIN FLAKES products’ trade dress acquired this secondary meaning or

distinctiveness before Defendants began their infringing activities.

        88.   On information and belief, Defendants’ unauthorized use of Plaintiff’s

trade dress and colorable imitations thereof have been intentional and willful.

Defendants’ bad faith is evidenced at least by the similarity of its infringing

products to Plaintiff’s trade dress and by Defendants’ continuing disregard for

Plaintiff’s rights.



PLANTIFFS ORIGINAL COMPLAINT                                                          27
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 28 of 34 PageID #: 28




       89.   Defendants Dahlberg, BCP and Agora are the only Defendants that on

information and belief, stopped infringing Plaintiff’s trademark, BRAIN FLAKES

after receiving cease and desist correspondence from Plaintiff. However, Defendants

Dahlberg, BCP and Agora’s past willful infringing and counterfeit activities

substantially damaged Plaintiff.

       90.   Plaintiff is entitled to recover all available relief under common law,

including permanent injunctive relief, Defendants’ profits, actual damages, punitive

damages and damages, costs and reasonable attorney’s fees.

          Count VII: Copyright Infringement Under 17 U.S.C. § 501, et. seq.
            Against the following Defendants: (1) Moo Toys, (2) Fox and
          Grapes, (3) Agora, (4) Build a Brain, (5) Comfortscape, (6) Jarrby,
             (7) PlayLearn, and (8) Playshire (“Copyright Defendants”).

       91.   Plaintiff repeats the allegations above as if fully set forth herein.

       92.   Plaintiff is the sole owner of its marketing text, photographs and

imagery and the corresponding copyrights and Certificates of Registration

referenced herein.

       93.   Copyright Defendants infringed Plaintiff’s copyrights by reproducing,

distributing and displaying publicly without approval or authorization, Plaintiff’s

copyrighted text, photographs or images in connection with the Copyright

Defendants’ marketing and/or advertising of the infringing counterfeit BRAIN

FLAKES manipulative construction toy products.

       94.   Copyright Defendants at least acted with willful blindness to, or in

reckless disregard of, Plaintiff’s registered copyrights.




PLANTIFFS ORIGINAL COMPLAINT                                                           28
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 29 of 34 PageID #: 29




       95.    As a result of Copyright Defendants’ wrongful conduct, Plaintiff is

entitled to recover its actual damages and Copyright Defendants’ profits

attributable to the infringement.

       96.    Plaintiff is entitled to recover all available relief under 17 U.S.C. § 504,

including permanent injunctive relief, Defendants’ profits, actual damages, and all

other such relief as the Court that is properly within the Court’s discretionary

powers that it deems just.

                       Count VIII: Common Law Unfair Competition

       97. Plaintiff repeats the allegations above as if fully set forth herein.

       98.    This lawsuit is based on Defendants’ advertisements, promotions, offers to

sell, sales and/or distribution of the infringing counterfeit products bearing identical

or virtually identical brands, as Viahart’s trademark BRAIN FLAKES and in one

case, VIAHART, in direct competition with Plaintiff. Further, this lawsuit is based

on Defendants’ use of Plaintiff’s distinctive Trade Dress as well as copyright

infringement.

       99.    Defendants’ infringing activities are likely to cause and actually have

caused or are continuing to cause confusion, mistake and deception among the

relevant purchasing public as to at least the origin and quality of Defendants’

products by their use of Plaintiff’s trademarks, whether the use is identical or

virtually identical.

       100. Plaintiff has no adequate remedy at law and is suffering damages as a

result of Defendants’ wrongful actions.



PLANTIFFS ORIGINAL COMPLAINT                                                           29
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 30 of 34 PageID #: 30




       101. Plaintiff is entitled to recover all available relief at law and in equity

under Texas Common Law as the Court deems just.

                    Count IX: Common Law Trademark Infringement

       102. Plaintiff repeats the allegations above as if fully set forth herein.

       103. This lawsuit is based on Defendants’ advertisements, promotions, offers to

sell, sales and/or distribution of the infringing counterfeit products bearing identical

or virtually identical brands, as Viahart’s trademark BRAIN FLAKES and in one

case, VIAHART, in direct competition with Plaintiff.

       104. Defendants’ infringing activities are likely to cause and actually have

caused or are continuing to cause confusion, mistake and deception among the

relevant purchasing public as to at least the origin and quality of Defendants’

products by their use of Plaintiff’s trademarks, whether the use is identical or

virtually identical.

       105. Plaintiff has no adequate remedy at law and is suffering damages as a

result of Defendants’ wrongful actions.

       106. Plaintiff is entitled to recover all available relief at law and in equity

under Texas Common Law as the Court deems just.

                                   VIII. Demand for Jury Trial

       107. Plaintiff hereby demands a jury trial on all issues so triable.

                                            Request for Relief

             For the above-stated reasons, Plaintiff Viahart, LLC respectfully

requests that the Court:



PLANTIFFS ORIGINAL COMPLAINT                                                             30
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 31 of 34 PageID #: 31




               1. Enter Judgment that (i) all Defendants infringed Viahart’s

                  Trademark, “BRAIN FLAKES” in violation of Section 32 of the

                  Lanham Act, 15 U.S.C. § 1114; (ii) that all Defendants’ activities

                  constitute or constituted willful trademark infringement and

                  counterfeiting in violation of Section 32 of the Lanham Act, 15

                  U.S.C. § 1114; (iii) that all Defendants’ activities constitute or

                  constituted unfair competition in violation of § 43(a) of the

                  Lanham Act, 15 U.S.C. § 1125(a); (iv) that all Defendants

                  infringed Plaintiff’s trade dress in violation of 15 U.S.C. §

                  1125(a); (v) that all Defendants diluted Plaintiff’s trade dress in

                  violation of 15 U.S.C. § 1125(c); (vi) that all Defendants engaged

                  in unfair competition in violation of Texas common law, and

                  violated Plaintiff’s common law rights in Plaintiff’s trade dress

                  and trademark BRAIN FLAKES; (vii) that the Copyright

                  Defendants, Moo Toys, Fox and Grapes, Agora, Build a Brain,

                  Comfortscape, Jarrby, PlayLearn and Playshire infringed

                  Plaintiff’s copyrights in violation of 17 U.S.C. § 501; and (viii)

                  that Defendant Fox and Grapes infringed Plaintiff’s trademark,

                  “VIAHART” in violation of Section 32 of the Lanham Act, 15

                  U.S.C. § 1114 and in violation of Texas common law.

               2. In accordance with 15 U.S..C § 1116, issue a permanent

                  injunction against further infringement and dilution of Plaintiff’s



PLANTIFFS ORIGINAL COMPLAINT                                                           31
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 32 of 34 PageID #: 32




                  trademark, BRAIN FLAKES, further infringement and dilution

                  of Plaintiff’s trade dress, further infringement of Plaintiff’s

                  copyrights, further acts of unfair competition by Defendants and

                  each of their respective agents, employees, servants, attorneys,

                  successors and assigns and all others in privity or acting in

                  concert therewith, including without limitation, selling, offering

                  to sell, distributing, importing, advertising Defendants’

                  infringing products, or any other products that use a copy,

                  reproduction or colorable imitation of Plaintiff’s trade dress;

               3. An Order directing Defendants, their officers, agents, servants,

                  attorneys and all those in active concert or participation

                  therewith to provide an accounting of all sales, revenues, and

                  profits related to Defendants’ goods and services that infringe

                  Plaintiff’s trademarks, trade dress and copyrights;

               4. An Order directing Defendants to recall all infringing products

                  sold and/or distributed and provide a full refund for all recalled

                  infringing or counterfeit products;

               5. An Order directing that Amazon, Ebay, Wal-Mart and all other

                  on-line marketplaces that advertise, market or display

                  Defendants’ infringing or counterfeit products for sale to take

                  down or remove all such advertising, marketing or displays from

                  their respective websites. Further, issue an Order directing all



PLANTIFFS ORIGINAL COMPLAINT                                                           32
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 33 of 34 PageID #: 33




                  Defendants to take down or remove all other infringing or

                  counterfeit product marketing or advertising from Defendants’

                  respective websites, including all text, photographs and images

                  that violate Plaintiff’s copyrights.

               6. An Order directing the destruction of (i) all infringing products,

                  including all recalled products, (ii) any other products that use a

                  copy, reproduction, confusingly similar design, or colorable

                  imitation of Plaintiff’s trade dress and trademarks in Defendants’

                  possession, custody or control, (iii) all advertising materials

                  related to the infringing products in Defendants’ possession,

                  custody or control, including on the internet pursuant to at least

                  15 U.S.C. § 1118;

               7. An Order directing Defendants to issue a public notice (with

                  Plaintiff’s prior approval thereof) providing proper attribution of

                  Plaintiff’s trademarks, trade dress and copyrights to Plaintiff and

                  to provide a copy thereof to all of Defendants’ customers,

                  distributors and/or others from the infringing products are

                  recalled;

               8. An Order barring the importation of the infringing products

                  and/or colorable imitations thereof in the United States and

                  barring entry of the infringing products and/or colorable




PLANTIFFS ORIGINAL COMPLAINT                                                           33
Case 6:19-cv-00406-RWS Document 1 Filed 09/06/19 Page 34 of 34 PageID #: 34




                  imitations thereof into any customhouse of the United States,

                  pursuant to 15 U.S.C. § 1125(b);

               9. An Order awarding Plaintiff with actual, treble, enhanced and

                  exemplary damages, or alternatively, award Plaintiff with

                  statutory damages pursuant to 15 U.S.C. § 1117, 15 U.S.C. §§

                  1125(a); and

               10. An Order awarding Plaintiff with actual damages pursuant to 17

                  U.S.C. § 504(b) and all other relief that the Court, in its

                  discretion, deems proper.



Dated: September 6, 2019

                                       Respectfully submitted,

                                       ________________________
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PLANTIFFS ORIGINAL COMPLAINT                                                      34
